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                   EXHIBIT C
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                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                           Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUNIZ, MARCUS
  MARTIN, NATALIE ROMERO, CHELSEA
  ALVARADO, THOMAS BAKER and JOHN
  DOE,

                                 Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
                                               Civil Action No. 3: 17-cv-00072-NKM
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS, LEAGUE
  OF THE SOUTH, JEFF SCHOEP, NATIONAL
  SOCIALIST MOVEMENT, NATIONALIST
  FRONT, AUGUSTUS SOL INVICTUS,
  FRATERNAL ORDER OF THE ALT-
  KNIGHTS, LOYAL WHITE KNIGHTS OF THE
  KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                                Defendants.



        DECLARATION OF NATALIE ROMERO IN SUPPORT OF PLAINTIFFS’
       SUBMISSION REGARDING VENUE FOR TRIAL AND TRIAL LOGISTICS
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         I, Natalie Romero, declare as follows:

         1.      I am a Plaintiff in the lawsuit captioned Sines v. Kessler, No. No. 3: 17-cv-00072-

 NKM.

         2.      I provide this declaration in support of Plaintiffs’ Submission Regarding Venue for

 Trial and Trial Logistics.

         3.      The statements made in this declaration are based on my personal knowledge. If

 called to testify, I could and would testify under oath competently and truthfully to each of the

 statements in this declaration.

         4.      I am a resident of Charlottesville, Virginia. I have lived in Charlottesville,

 Virginia for the last five years while I was attending the University of Virginia. I graduated last

 fall with a Bachelor of Arts degree in Global Development Studies and Sociology.

         5.      I am employed by Virginia Organizing, which is located on Concord Avenue in

 Charlottesville, Virginia. I work full time at Virginia Organizing’s office. My office is a five

 minute drive from my home.

         6.      I was recently awarded the inaugural Freeman Artist Residency. As part of that

 residency, I was awarded a studio in the Carlton area of Charlottesville, Virginia. On average,

 I visit my studio five days a week. My studio is my safe space where I create art, read, think,

 and heal. I feel safe and supported in my studio. My art is a form of therapy and a cathartic

 exercise that has allowed me to cope with the physical, mental, and emotional trauma that I

 suffered as a result of the events of August 11-12, 2017. My studio is an eight minute drive

 from my home.

         7.      During the global COVID-19 pandemic, my family, including my mother,

 brother, aunt, cousin, and two goddaughters moved to Charlottesville, Virginia and began living
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 with me and my wife. I assumed a number of additional personal responsibilities thereafter. For

 example, I drive my brother to work every day because he does not have a driver’s license. I

 also have childcare responsibilities for my two young goddaughters.

         8.     Moving the trial to either Lynchburg, Virginia or Roanoke, Virginia, would

 present an enormous hardship for me emotionally, physically, professionally, and personally.

         9.     Among other severe physical injuries, I suffered a fractured skull and concussion

 when Defendant James Fields’ car struck me on August 12, 2017. In the wake of the car attack,

 I was diagnosed with PTSD, acute anxiety, and stress. I suffer from extreme anxiety when

 traveling in cars as a result of the car attack. I limit my driving to a 2-3 mile radius within

 Charlottesville and have not been alone in a car for a drive longer than that since August 12,

 2017.   The idea of driving by myself from Charlottesville to Lynchburg or Roanoke to

 participate in trial is terrifying, and I do not have a family member or friend who can take off

 from work in order to drive me to and from either Lynchburg or Roanoke each day. As a result,

 I would have to seek lodging in either location for the duration of the trial. That would be an

 enormous monetary burden for me as a recent college graduation on a very tight budget who

 provides financial support for younger family members.

         10.    In addition, it is my understanding that the COVID-19 vaccination rate is far

 lower in Lynchburg and Roanoke than it is in Charlottesville. I care for younger family members

 who cannot be vaccinated and being in an area with a higher COVID-19 infection rate and a

 lower vaccination rate concerns me greatly.

         11.    In addition, being in Lynchburg or Roanoke for trial would take me away from

 my entire emotional support system. I anticipate that preparing for and testifying at trial will

 exacerbate my PTSD and trigger me emotionally.           My closest family members live in




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 Charlottesville, Virginia. My friends who helped me recover from my physical injuries and

 provided me with ongoing emotional support are all in Charlottesville, Virginia. I have an

 emotional support dog certified by my physician that I would have to leave in Charlottesville if

 trial were held in Lynchburg or Roanoke.

        12.        If trial were held in Lynchburg or Roanoke that would deprive me of the ability

 to visit my art studio, which is my creative outlet to deal with my trauma, anxiety, and stress.

        13.        It will also be impossible for me to meet my professional and personal obligations

 if trial is held in Lynchburg or Roanoke.

        14.        In addition, my family only has a single vehicle. If I take that vehicle to

 Lynchburg or Roanoke for trial my family will be without transportation for that time period.

        15.        I have never been to Lynchburg and I have no connections whatsoever to either

 Lynchburg or Roanoke.

        16.        It is incredibly important to me that the trial occurs in Charlottesville. I am a

 community organizer and I firmly believe that the Charlottesville community deserves the

 chance to heal.

        17.        I declare under penalty of perjury that the foregoing is true and correct. Executed

 on June 11, 2021, in Charlottesville, Virginia.



                                         ____________________________
                                         Natalie Romero




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